Case 4:18-cr-00190-MAC-CAN Document 35 Filed 03/04/19 Page 1 of 5 PageID #: 90



                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 § CASE NUMBER 4:18-CR-00190
                                                    §
 STEPHEN CHASE CLARK                                §


          FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE


        By order of the District Court, this matter is referred to the undersigned United States

 Magistrate Judge for administration of the guilty plea under Rule 11. Magistrate judges have the

 statutory authority to conduct a felony guilty plea proceeding as an “additional duty” pursuant to

 28 U.S.C. § 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002).

        On March 4, 2019, this case came before the undersigned United States Magistrate Judge

 for entry of a guilty plea by Defendant, Stephen Chase Clark, to Counts One and Two of the

 Indictment. Count One of the Indictment alleges that between on or about August 27, 2018, and

 on or about August 28, 2018, in the Eastern District of Texas, Defendant, Stephen Chase Clark,

 did use any facility of interstate and foreign commerce, to knowingly persuade, induce, entice, and

 coerce, and to knowingly attempt to persuade, induce, entice, and coerce any individual who had

 not attained the age of 18 years to engage in any sexual activity for which any personal could be

 charged with an offense, in violation of Title 18 U.S.C. § 2422(b) – Attempted Coercion and

 Enticement of a Minor. Count Two of the Indictment alleges that on or about April 30, 2018, in

 the Eastern District of Texas, Defendant Stephen Chase Clark did knowingly receive any child

 pornography, as defined in Title 18 United States Code, Section 2256(8) that had been shipped
Case 4:18-cr-00190-MAC-CAN Document 35 Filed 03/04/19 Page 2 of 5 PageID #: 91



 and transported using any means and facility of interstate and foreign commerce, and that had been

 shipped and transported in and affecting interstate and foreign commerce by any means, including

 by computer. Specifically, Defendant Stephen Chase Clark, using the Internet and a Samsung

 Galaxy S9+ cellular phone, received visual depictions of child pornography, in violation of

 Title 18 U.S.C. § 2252(a)(2)(A) and (b)(1) – Receipt of Child Pornography.

            Defendant entered a plea of guilty to Counts One and Two of the Indictment into the record

 at the hearing. After conducting the proceeding in the form and manner prescribed by Federal Rule

 of Criminal Procedure 11, the undersigned finds:

            a.       Defendant, after consultation with his attorney, has knowingly, freely, and

 voluntarily consented to the administration of the guilty plea in this case by a United States

 Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

 sentence by the District Court;

            b.       Defendant and the Government have entered into a plea agreement which was

 disclosed and addressed in open court, entered into the record, and placed under seal. Defendant

 verified that he understood the terms of the plea agreement, and acknowledged that it was his

 signature on the plea agreement. To the extent the plea agreement contains recommendations and

 requests pursuant to FED. R. CRIM. P. 11 (c)(1)(B), the Court advises Defendant that he has no right

 to withdraw the plea if the Court does not follow the particular recommendations or requests. To

 the extent that any or all of the terms of the plea agreement are pursuant to Rule 11(c)(1)(A) or

 (C), the undersigned advises Defendant that he will have the opportunity to withdraw his plea of

 guilty should the Court not follow those particular terms of the plea agreement;1


 1
     (3) Judicial Consideration of a Plea Agreement.
Case 4:18-cr-00190-MAC-CAN Document 35 Filed 03/04/19 Page 3 of 5 PageID #: 92



          c.       Defendant is fully competent and capable of entering an informed plea, Defendant

 is aware of the nature of the charges and the consequences of the plea, and the plea of guilty is

 made freely, knowingly, and voluntarily. Upon addressing Defendant personally in open court, the

 undersigned determines that Defendant’s plea is knowing and voluntary and did not result from

 force, threats, or promises (other than the promises set forth in the plea agreement). See FED. R.

 CRIM. P. 11(b)(2); and

          d.       Defendant’s knowing and voluntary plea is supported by an independent factual

 basis establishing each of the essential elements of the offenses, and Defendant realizes that his

 conduct falls within the definition of the crimes charged under Title 18 U.S.C. § 2422(b) –

 Attempted Coercion and Enticement of a Minor and Title 18 U.S.C. § 2252(a)(2)(A) and (b)(1) –

 Receipt of Child Pornography.

                                             STATEMENT OF REASONS

          As factual support for Defendant’s guilty plea, the Government presented a factual basis.

 See Factual Basis. In support, the Government would prove that Defendant is one and the same

 person charged in the Indictment and that the events described in the Indictment occurred in the



 (A) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the court may accept the
 agreement, reject it, or defer a decision until the court has reviewed the presentence report.
 (B) To the extent the plea agreement is of the type specified in Rule 11(c)(1)(B), the court must advise the defendant
 that the defendant has no right to withdraw the plea if the court does not follow the recommendation or request.
 (4) Accepting a Plea Agreement. If the court accepts the plea agreement, it must inform the defendant that to the
 extent the plea agreement is of the type specified in Rule 11(c)(1)(A) or (C), the agreed disposition will be included
 in the judgment.
 (5) Rejecting a Plea Agreement. If the court rejects a plea agreement containing provisions of the type specified in
 Rule 11(c)(1)(A) or (C), the court must do the following on the record and in open court (or, for good cause, in
 camera):
 (A) inform the parties that the court rejects the plea agreement;
 (B) advise the defendant personally that the court is not required to follow the plea agreement and give the defendant
 an opportunity to withdraw the plea; and
 (C) advise the defendant personally that if the plea is not withdrawn, the court may dispose of the case less favorably
 toward the defendant than the plea agreement contemplated. FED. R. CRIM. P. 11(c)(3)-(5).
Case 4:18-cr-00190-MAC-CAN Document 35 Filed 03/04/19 Page 4 of 5 PageID #: 93



 Eastern District of Texas. The Government would also have proven, beyond a reasonable doubt,

 each and every essential element of the offenses as alleged in Counts One and Two of the

 Indictment through the testimony of witnesses, including expert witnesses, and admissible

 exhibits. In support of Defendant’s plea, the undersigned incorporates the proffer of evidence

 described in detail in the factual basis and stipulation, filed in support of the plea agreement.

        Defendant, Stephen Chase Clark, agreed with and stipulated to the evidence presented in

 the factual basis. Counsel for Defendant attested to Defendant’s competency and capability to enter

 an informed plea of guilty. Defendant agreed with the evidence presented by the Government and

 personally testified that he was entering his guilty plea knowingly, freely, and voluntarily.

                                    RECOMMENDED DISPOSITION

        IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the Guilty Plea of Defendant, which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offenses charged in Counts One and Two of the Indictment. It is also recommended

 that the District Court defer acceptance of the plea agreement until after review of the presentence

 report. Accordingly, it is further recommended that Stephen Chase Clark be finally adjudged guilty

 of the charged offenses in violation of Title 18 U.S.C. § 2422(b) – Attempted Coercion and

 Enticement of a Minor and Title 18 U.S.C. § 2252(a)(2)(A) and (b)(1) – Receipt of Child

 Pornography.

        If the plea agreement is rejected and Defendant still persists in the guilty plea, the

 disposition of the case may be less favorable to Defendant than that contemplated by the plea
Case 4:18-cr-00190-MAC-CAN Document 35 Filed 03/04/19 Page 5 of 5 PageID #: 94



 agreement. Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. Defendant has the right to allocute before the District Court

 before imposition of sentence.

        Both Parties waived the fourteen (14) day objection period.

        SIGNED this 4th day of March, 2019.




                                   ___________________________________
                                   Christine A. Nowak
                                   UNITED STATES MAGISTRATE JUDGE
